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yx IN THE UNITED STATES DISTRICT.-.COURT

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re | C- I A | FOR THE NORTHERN DISTRICT OF! TEXAS

r

DALLAS DIVISION

 

 

 

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UNITED STATES OF AMERICA * lo eee bE
* at
Vv. *
* CRIMINAL NO
ROBBIE LESA HAMES (1) *
CHARLES WILLIAM HAMES (2) *
JAMES MICHAEL DAVIS (3) * IVI AT PT,
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INDICTMENT. -'.. wed

The Grand Jury charges:

INTRODUCTION: 301 -CR- 323-R

At times material to this indictment:

1. The Medicare program was a federally funded health
insurance program and health care benefit program to provide
medical care to people over 65 years of age and certain others with
disabilities.

2. The Medicare Part A Program was administered by the Health

Care Financing Administration (HCFA), an agency of the United
States Department of Health and Human Services (HHS), which
contracted with private insurance companies, known as
intermediaries, to administer the Medicare Part A Program

throughout the United States.

3. Palmetto Government Benefits Administrators (Palmetto) -

located in Columbia, South Carolina, as the Medicare Regional Home

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Health Intermediary for the State of Texas, received, adjudicated
and paid Medicare Part A claims for home health agencies.

4, Medicare participating home health agencies, known as
providers, entered into an agreement with HCFA to provide services
to Medicare eligible beneficiaries and agreed to comply with
applicable sections of the Code of Federal Regulations (CFR) and
the Social Security Act during their participation in the Medicare
program. HCFA assigned a unique Medicare provider number that
allowed funds to be periodically advanced by Palmetto to a provider
to cover the provider’s estimated costs for treating Medicare
beneficiaries. At the end of each provider’s fiscal year, an
annual Medicare cost report (cost report) was required to be
prepared from the financial and statistical records maintained by
the provider during the normal course of business. The cost report
was required to be accurate and verifiable. One purpose of the
annual cost report was to enable Medicare to retroactively adjust
the periodic estimated payment amounts to equal the actual cost of
providing home health services to Medicare beneficiaries during a
provider’s fiscal year. The cost report was to be submitted to
Medicare through intermediaries such as Palmetto.

5. Cost reports were governed by regulations, procedures, and
instructions, and the cost reports included a certification that
each cost report filed, together with its supporting documentation,

was true, correct, complete, and prepared from the books and

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records of the provider in accordance with applicable instructions.
The cost report included a warning that misrepresentation or
falsification of any information contained in the cost report may
be punishable by fine and/or imprisonment under federal law.

6. Alternate Nursing Care, Inc. (ANC), a Texas corporation
located in Irving, Texas, was a home health agency registered with
Palmetto as a Medicare provider.

7. Bank One, Texas, NA (Bank One), was ae financial
institution which was engaged in and the activities of which
affected interstate and foreign commerce.

8. Accelerated Home Health Personnel, Inc. (Accelerated) was
a Texas corporation located in Irving, Texas.

COUNT 1

A. The grand jury realleges and incorporates herein all of
the allegations set forth in the Introduction of this indictment.

B. SCHEME AND CONSPIRACY:

From at least on or about December 8, 1995 and continuing
thereafter through on or about December 1, 2000, in the Dallas
Division of the Northern District of Texas and elsewhere, ROBBIE
LESA HAMES, CHARLES WILLIAM HAMES and JAMES MICHAEL DAVIS,
defendants, and another person known to the grand jury, did
knowingly and willfully devise a joint scheme and artifice to
defraud a health care benefit program and to obtain money and

property owned by and under the custody and control of a health

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care benefit program by means of false and fraudulent pretenses,
representations and promises in connection with the delivery of and
payment for health care benefits, items and services and did
knowingly, willfully, and unlawfully combine, conspire,
confederate, and agree together and with each other to:

(1) defraud the United States by impairing, impeding,
obstructing, and defeating the lawful functions of the United
States Department of Health and Human Services, in its operation of
the Medicare program, a federal health care benefit program, and

(2) to commit certain offenses against the United States, to

wit:

(a) to knowingly and willfully execute the aforesaid
scheme and artifice, in violation of Title 18, United States Code,
Section 1347;

(b) for the purpose of executing the aforesaid scheme
and artifice, to cause envelopes to be delivered by a commercial
interstate carrier according to the directions thereon, in
violation of Title 18, United States Code, Section 1341;

(c) to knowingly and willfully make and cause to be made
false, Fictitious and fraudulent material statements and
representations in a matter within the jurisdiction of a department
and agency of the United States, in violation of Title 18, United
States Code, Section 1001;

(d) to knowingly and with intent to deceive and defraud

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the United States, endeavor to influence, obstruct and impede a
Federal auditor in the performance of official duties relating to
a person receiving in excess of $100,000.00 directly or indirectly
from the United States in a 1 year period under a contract or
subcontract, in violation of Title 18, United States Code, Section
1516(a) and

(e) to knowingly and willfully prevent, obstruct,
mislead, delay and attempt to prevent, obstruct, mislead and delay
the communication of information and records relating to a
violation of a Federal health care offense to a criminal
investigator, in violation of Title 18, United States Code, Section
1518.

C. OBJECT OF THE SCHEME AND CONSPIRACY:

The primary object of the scheme and conspiracy was to obtain
funds from the Medicare program to which the defendants were not
entitled.

D. MANNER AND MEANS:

1. It was part of the scheme and conspiracy that the
conspirators would and did:

a. Create RALA, Inc. (RALA), which bought a building at
1711 W. Irving Blvd., Irving, Texas (building) ;
b. Create a document purporting to convey ownership of

RALA from defendants ROBBIE LESA HAMES and CHARLES WILLIAM HAMES,

to defendant JAMES MICHAEL DAVIS;

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c. Create a backdated lease agreement between ANC and
RALA for the purpose of including a building lease expense cost on
an ANC cost report;

d. Conceal from Palmetto the fact that the building
lease transaction involved related parties and that the rent
expense was inflated.

e. Cause backdated documents to be notarized so the
documents would appear to be legitimate;

f. Claim a lease expense cost for the entire building on
an ANC cost report even though ANC did not occupy the entire
building;

g. Claim on an ANC cost report that ANC occupied the
building during a time period when it did not occupy the building;

h, Instruct certain employees to create documents
reflecting that they worked full time on ANC business for the
purpose of including their entire salaries as salary expense on ANC
cost reports;

i. Submit documents to Palmetto falsely claiming that
ROBBIE LESA HAMES and CHARLES WILLIAM HAMES, defendants, and David
Hames worked full time on ANC business;

j. Create documents reflecting a fraudulent building
lease expense and management fee expense;

k. Submit to Palmetto cost reports reflecting fraudulent

expense costs;

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* Case 3:01-cr-0032@ Document 1 Filed 10/17/01 P@7of31 PagelD7

1. Cause Medicare funds to be sent to ANC;

m. Cause Medicare funds to be transferred from ANC’s
bank account to other bank accounts and

n. Misapply and convert Medicare funds for their own use
and the use of others.

2. It was a further part of the scheme and conspiracy that,
as a result of the aforementioned fraudulent activities, the
conspirators caused the Medicare program to pay millions of dollars
to ANC.

3. It was a further part of the scheme and conspiracy that
conspirators would and did conduct these activities in a manner
calculated to conceal the fraudulent nature of the scheme and
otherwise deceive others.

BE. QOVERT ACTS:

In furtherance of the aforesaid scheme and conspiracy and to
effect the objects thereof, the conspirators committed the
following overt acts, among others, in the Dallas Division of the
Northern District of Texas:

1. On or about December 8, 1995, defendant ROBBIE LESA HAMES
as owner of RALA, purchased a building in Irving, Texas.

2. In or about 1996 or 1997, the exact date being unknown to

the grand jury, defendants ROBBIE LESA HAMES and CHARLES WILLIAM
HAMES created a document purporting to convey the ownership of RALA

to defendant JAMES MICHAEL DAVIS.

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3. In or about 1996 or 1997, the exact date being unknown to
the grand jury, defendants ROBBIE LESA HAMES and JAMES MICHAEL
DAVIS created a lease agreement reflecting that ANC leased office
space in the building from RALA.

4. In or about 1996 or 1997, the exact date being unknown to
the grand jury, defendants ROBBIE LESA HAMES and JAMES MICHAEL
DAVIS caused a management contract to be created and signed.

5. In or about 1996 or 1997, the exact date being unknown to
the grand jury, defendant ROBBIE LESA HAMES caused a person known
to the grand jury to notarize a backdated document.

6. On or about March 22, 1996, defendant JAMES MICHAEL DAVIS
opened a bank account in the name of Accelerated.

Overt Acts 7 - 9

On or about the dates set forth below for each overt act

below, defendant ROBBIE LESA HAMES caused a cost report to be

Submitted to Palmetto.

 

Overt Act Date
7 12/30/96
8 12/2/97
9 11/30/98

Overt Acts 10 - 30
The grand jury realleges and incorporates herein all of the
allegations in Counts 2 through 22 of this indictment as additional

overt acts in furtherance of the scheme and conspiracy.

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All in violation of Title 18 United States Code, Section 371

(18 U.S.C. §§ 1001, 1341, 1347, 1516 and 1518).

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COUNT 2

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about December 30, 1996, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES,
CHARLES WILLIAM HAMES and JAMES MICHAEL DAVIS, defendants, aided
and abetted by each other and by another person known to the grand
jury, did knowingly and willfully execute and attempt to execute
the aforesaid scheme and artifice to defraud a health care benefit
program and to obtain money and property owned by and under the
custody and control of a health care benefit program by means of
materially false and fraudulent pretenses, representations and
promises in connection with the delivery of and payment for health
care benefits, items and services by causing a cost report
reflecting false expense costs to be submitted to Palmetto.

In violation of Title 18, United States Code, Sections 1347

and 2.

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COUNT 3

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about December 2, 1997, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES,
CHARLES WILLIAM HAMES and JAMES MICHAEL DAVIS, defendants, aided
and abetted by each other and by another person known to the grand
jury, did knowingly and willfully execute and attempt to execute
the aforesaid scheme and artifice to defraud a health care benefit
program and to obtain money and property owned by and under the
custody and control of a health care benefit program by means of
materially false and fraudulent pretenses, representations and
promises in connection with the delivery of and payment for health
care benefits, items and services by causing a cost report
reflecting false expense costs to be submitted to Palmetto.

In violation of Title 18, United States Code, Sections 1347

and 2.

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COUNT 4

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about December 30, 1996, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES,
CHARLES WILLIAM HAMES and JAMES MICHAEL DAVIS, defendants, aided
and abetted by each other and by another person known to the grand
jury, for the purpose of executing the aforesaid scheme and
artifice to defraud and for obtaining money and property by means
of materially false and fraudulent pretenses, representations and
promises, and attempting to do so, did knowingly cause to be
delivered by a commercial interstate carrier according to the
direction thereon an envelope addressed to Palmetto Government
Benefits Administrators, AT&T Building, Suite 2200, 1201 Main
Street, Columbia, S.C. 29201, which envelope contained a cost
report for the fiscal year ending June 30, 1996.

In violation of Title 18, United States Code, Sections 1341

and 2.

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COUNT 5

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about December 30, 1996, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES and
JAMES MICHAEL DAVIS, defendants, aided and abetted by each other
and by others known to the grand jury, did knowingly and willfully
make and cause to be made materially false, fictitious and
fraudulent statements and representations in a matter within the
jurisdiction of a department and agency of the United States, to
wit: the defendants caused to be submitted to Palmetto a cost
report reflecting that management services were rendered, when in
truth and in fact, as the defendants then and there well knew, the
said management services were not rendered.

In violation of Title 18, United States Code, Sections 1001

and 2.

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COUNT 6

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about December 30, 1996, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES and
CHARLES WILLIAM HAMES, defendants, aided and abetted by each other,
did knowingly and willfully make and cause to be made materially
false, fictitious and fraudulent statements and representations in
a matter within the jurisdiction of a department and agency of the
United States, to wit: the defendants caused to be submitted to
Palmetto a document styled “Providers Owner’s / Management
Personnel Compensation Exhibit” relating to defendant CHARLES
WILLIAM HAMES, reflecting that he was the Controller and CFO for
ANC and that he worked 2080 hours for ANC during the Fiscal Year
Ending June 30, 1996, when, in truth and in fact, as the defendants
then and there well knew, defendant CHARLES WILLIAM HAMES did not
perform the duties of Controller and CFO for ANC and he did not
work 2080 hours for ANC during that fiscal year.

In violation of Title 18, United States Code, Sections 1001

and 2.

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COUNT 7

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about December 30, 1996, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES,
defendant, did knowingly and willfully make and cause to be made a
materially false, fictitious and fraudulent statement and
representation in a matter within the jurisdiction of a department
and agency of the United States, to wit: the defendant caused to
be submitted to Palmetto a document styled “Providers Owner’s /
Management Personnel Compensation Exhibit” relating to defendant
ROBBIE LESA HAMES, reflecting that she worked 2080 hours for ANC
during the Fiscal Year Ending June 30, 1996, when, in truth and in
fact, as the defendant then and there well knew, she did not work
2080 hours for ANC during that fiscal year.

In violation of Title 18, United States Code, Section 1001.

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COUNT 8

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about December 30, 1996, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES,
defendant, aided and abetted by a person known to the grand jury,
did knowingly and willfully make and cause to be made a materially
false, fictitious and fraudulent statement and representation ina
matter within the jurisdiction of a department and agency of the
United States, to wit: the defendant caused to be submitted to
Palmetto a document styled “Providers Owner’s / Management
Personnel Compensation Exhibit” relating to David Hames, reflecting
that he worked 2080 hours for ANC during the Fiscal Year Ending
June 30, 1996, when, in truth and in fact, as the defendant then
and there well knew, David Hames did not work 2080 hours for ANC
during that fiscal year.

In violation of Title 18, United States Code, Sections 1001

and 2.

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COUNT 9

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about December 2, 1997, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES,
defendant, did knowingly and willfully make and cause to be made
materially false, fictitious and fraudulent statements and
representations in a matter within the jurisdiction of a department
and agency of the United States, to wit: the defendants caused to
be submitted to Palmetto a document styled “Providers Owner's /
Management Personnel Compensation Exhibit” relating to Charles
William Hames, reflecting that he performed Controller duties for
ANC and that he worked 2080 hours for ANC during the Fiscal Year
Ending June 30, 1997, when, in truth and in fact, as the defendants
then and there well knew, Charles William Hames did not perform the
duties of Controller for ANC and he did not work 2080 hours for ANC
during that fiscal year.

In violation of Title 18, United States Code, Section 1001.

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COUNT 10

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about February 5, 1997, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES,
defendant, did knowingly and with intent to deceive and defraud the
United States, endeavor to influence, obstruct and impede a Federal
auditor in the performance of official duties relating to a person
receiving in excess of $100,000.00 directly or indirectly from the
United States in a 1 year period under a contract or subcontract,
to wit: the defendant caused a copy of a fraudulent lease agreement
to be provided to an auditor.

In violation of Title 18, United States Code, Section 1516.

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COUNT 11

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about August 12, 1998, in the Dallas Division of
the Northern District of Texas and elsewhere, ROBBIE LESA HAMES,
defendant, did knowingly and with intent to deceive and defraud the
United States, endeavor to influence, obstruct and impede a Federal
auditor in the performance of official duties relating to a person
receiving in excess of $100,000.00 directly or indirectly from the
United States in a 1 year period under a contract or subcontract,
to wit: the defendant provided to an auditor copies of fraudulent
invoices purportedly relating to consulting services.

In violation of Title 18, United States Code, Section 1516.

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COUNT 12

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about August 12, 1998, in the Dallas Division of
the Northern District of Texas and elsewhere, CHARLES WILLIAM
HAMES, defendant, did knowingly and with intent to deceive and
defraud the United States, endeavor to influence, obstruct and
impede a Federal auditor in the performance of official duties
relating to a person receiving in excess of $100,000.00 directly or
indirectly from the United States in a 1 year period under a
contract or subcontract, to wit: the defendant attempted to take
from an auditor a document relating to insurance.

In violation of Title 18, United States Code, Section 1516.

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COUNT 13

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Count 1 of this
indictment.

2. On or about December 1, 2000, in the Dallas Division of
the Northern District of Texas and elsewhere, JAMES MICHAEL DAVIS,
defendant, did knowingly and willfully prevent, obstruct, mislead,
delay and attempt to prevent, obstruct, mislead and delay the
communication of information and records relating to a violation of
a Federal health care offense to a criminal investigator, to wit:
the defendant attempted to avoid meeting an agent of the Federal

Bureau of Investigation.

In violation of Title 18, United States Code, Section 1518.

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COUNT 14

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Counts 2 and 3 of
this indictment.

2. From at least on or about March 22, 1996 through at least
on or about July 21, 1998, in the Dallas Division of the Northern
District of Texas, ROBBIE LESA HAMES and JAMES MICHAEL DAVIS,
defendants, did unlawfully, knowingly and willfully combine,
conspire, confederate, and agree together and with a person known
to the grand jury to commit one or more offenses against the United
States, to wit:

(a) knowing that the property involved in a financial
transaction represents the proceeds of a form of unlawful activity,
to conduct and attempt to conduct a financial transaction knowing
that the transaction was designed in whole and in part to conceal
and disguise the nature, location, source, ownership and control of
the proceeds of specified unlawful activity, that is health care
fraud, as alleged in Counts 2 and 3 of this Indictment, in
violation of Title 18, United States Code, Section 1956 (a) (1) (B) (1)
and

(b) to knowingly engage in and attempt to engage in
monetary transactions in criminally derived property of a value
greater than $10,000.00 which was derived from specified unlawful

activity, that is health care fraud, as alleged in Counts 2 and 3

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of this Indictment, in violation of Title 18, United States Code,
Section 1957.

3. It was a part of the conspiracy that the conspirators
would and did obtain Medicare funds by fraud, transfer the funds
from ANC to Accelerated and then take funds from Accelerated for
their own use and the use of others.

4. The grand jury realleges and incorporates herein all of
the allegations in Counts 15 through 22 of this indictment as overt
acts committed in furtherance of the conspiracy and to effect the
objects thereof.

All in violation of Title 18 United States Code, Section

1956(h). (18 U.S.C. §§ 1956(a) (1) (B) (i) and 1957).

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COUNTS 15 AND 16

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Counts 2 and 3 of
this indictment.

2. On or about the dates set forth below, for each count
listed below, in the Dallas Division of the Northern District of
Texas, ROBBIE LESA HAMES and JAMES MICHAEL DAVIS, defendants, aided
and abetted by each other and by another person known to the grand
jury, did unlawfully and knowingly conduct and attempt to conduct
financial transactions involving the use of Bank One, a financial
institution, to wit: the defendants caused checks to be drawn on
accounts at Bank One and deposited into other accounts at Bank One,
as described below, knowing that the property involved in those
transactions represented the proceeds of unlawful activity, and
which in fact involved the proceeds of specified unlawful activity,
to wit: acts and activities constituting offenses involving
Federal health care offenses, as alleged in Counts 2 and 3 of this
indictment, knowing that the transactions were designed, in whole
and in part to conceal and disguise the nature, location, source,
ownership and control of the proceeds of specified unlawful

activity.

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COUNT DATE TRANSACTION

15 6/27/97 Check signed by Defendant
ROBBIE LESA HAMES in the amount of
$100,000.00 drawn on the account of
ANC and deposited into the account
of Accelerated

16 7/21/98 Check signed by defendant
JAMES MICHAEL DAVIS in the amount of
$235,000.00 drawn on the account of
Accelerated and deposited into the
account of defendant
ROBBIE LESA HAMES

Bach in violation of Title 18, United States Code, Sections

1956 (a) (1) (B) (1) and 2.

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COUNTS 17 - 20

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Counts 2 and 3 of
this indictment.

2. On or about the dates set forth below, for each count
listed below, in the Dallas Division of the Northern District of
Texas, ROBBIE LESA HAMES and JAMES MICHAEL DAVIS, defendants, aided
and abetted by each other and by another person known to the grand
jury, did unlawfully and knowingly conduct and attempt to conduct
financial transactions involving the use of Bank One, a financial
institution, to wit: the defendants caused checks to be drawn on
an account at Bank One and paid to a person known to the grand jury
in payment for construction work performed by the said person at
the personal residence of defendant ROBBIE LESA HAMES, knowing that
the property involved in those transactions represented the
proceeds of unlawful activity, and which in fact involved the
proceeds of specified unlawful activity, to wit: acts and
activities constituting offenses involving Federal health care
offenses, as alleged in Counts 2 and 3 of this indictment, knowing
that the transactions were designed, in whole and in part to
conceal and disguise the nature, location, source, ownership and

control of the proceeds of specified unlawful activity.

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COUNT DATE AMOUNT OF CHECK
17 6/7/96 $1,074.18
18 8/7/96 $1,048.66
19 8/22/96 $1,124.37
20 9/9/96 $1,155.69

Each in violation of Title 18, United States Code, Sections

1956 (a) (1) (B) (1) and 2.

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COUNTS 21 AND 22

1. The Grand Jury realleges and incorporates herein all of
the allegations set forth in the Introduction and Counts 2 and 3 of
this indictment.

2. On or about the dates set forth below, in the Dallas
Division of the Northern District of Texas, United States of
America, ROBBIE LESA HAMES and JAMES MICHAEL DAVIS, defendants,
aided and abetted by each other and by another person known to the
grand jury, did unlawfully and knowingly engage and attempt to
engage in monetary transactions in criminally derived property of
a value greater than $10,000.00, to wit: deposits, withdrawals,
transfers and exchanges in and affecting interstate commerce of
funds and monetary instruments by and through Bank One, a financial
institution, and the said property was derived from specified
unlawful activity, to wit: acts and activities constituting
offenses involving Federal health care offenses, as alleged in
Counts 2 and 3 of this indictment.

COUNT DATE TRANSACTION

21 10/16/96 Check signed by defendant
JAMES MICHAEL DAVIS in the amount of
$75,000.00 drawn on the account of
Accelerated and deposited into the

account of defendant
ROBBIE LESA HAMES

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22 10/29/96

Check signed by defendant

JAMES MICHAEL DAVIS in the amount of
$75,000.00 drawn on the account of
Accelerated and deposited into the
account of defendant

ROBBIE LESA HAMES

Each in violation of Title 18, United States Code, Sections

1957(a) and 2.

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COUNT 23

1. The Grand Jury realleges and incorporates by reference the
allegations contained in the Introduction and Counts 2, 3 and 14
through 22, inclusive, of this Indictment as if fully set forth.

2. As a result of the foregoing Federal health care offenses
in violation of Title 18, United States Code, Section 1347, alleged
in Counts 2 and 3, violations of Title 18, United States Code,
Section 1956, alleged in Counts 14 through 20, inclusive, and
violations of Title 18, United States Code, Section 1957, alleged
in Counts 21 and 22, inclusive, the defendant JAMES MICHAEL DAVIS,
upon conviction, shall forfeit to the United States all property,
real and personal, that constitutes and is derived, directly or
indirectly, from gross proceeds traceable to the commission of the
said offenses, including but not limited to the following:
Property:

1711 West Irving Boulevard, Irving, Texas.

Lot 2, Block A of Professional Center Addition, to the City of
Irving, Texas, Dallas County, Texas, recorded in Volume 94170, Page
3812, Map Records, Dallas County, Texas.

3. If any of the above-described forfeitable property, as a
result of any act or omission of the defendant:

(a) cannot be located upon the exercise of due
diligence;

(b) has been transferred or sold to, or deposited with,

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a third party;

(c) has been placed beyond the jurisdiction of the
Court;

(d) has been substantially diminished in value; or

{e) has been commingled with other property which cannot
be divided without difficulty;
it is the intent of the United States, pursuant to Title 18, United
States Code, Section 982(b) (1) and Title 21, United States Code,
Section 853(p), to seek forfeiture of any other property of said
defendant up to the value of the said property.

All in violation of Title 18, United States Code, Section

982 (a) (1).

RICHARD H. STEPHENS
United States Attorney

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LYNN HASTINGS )

Assistant United States Attorney

Texas State Bar No. 09209700

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Dallas, Texas 75242

(214) 659-8600

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